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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

State of Texas,

Plaintiff,

v.                                                          No. 2:24-cv-00086-Z

The United States of America et al.,
         Defendants.

                             D ECLARATION OF M ICHAEL M EYER
     1. My name is Michael Meyer. I am over 18 years of age, of sound mind, and capable
        of making this declaration. I have personal knowledge of the facts stated herein.
     2. I am the Deputy Commissioner of Finance at the Texas Education Agency (TEA). I
        have held this position since June 2018.
     3. Educational programs and activities in Texas are funded through TEA. See Tex. Educ.
        Code § 7.021; § 7.031.
     4. In the 2023 Fiscal Year, approximately $9.4 billion in federal funds were distributed
        to Texas public schools for educational programs and activities in Texas through
        TEA, including but not limited to: ongoing programs funded under the Elementary
        and Secondary Education Act, the Individuals with Disabilities Education Act, and
        the Strengthening Career and Technical Education for the 21 st Century Act (Perkins
        V), and temporary programs funded through the Elementary and Secondary School
        Emergency Relief Fund via the Coronavirus Response and Relief Supplemental
        Appropriations Act, and the American Rescue Plan Act.
     5. The information above reflects only the federal funds received by Texas public
        schools through TEA. In Fiscal Year 2023, public schools in Texas received another
        approximately $4.8 billion in federal funding, including about $0.4 billion received
        directly from the federal government and about $4.4 billion distributed through
        entities other than TEA. In addition, public schools received approximately $26.8
        billion in state funding in Fiscal Year 2023.
     6. Almost all Texas public schools receive federal funds that are distributed by TEA.
        Additionally, the Texas School for the Blind and Visually Impaired (“TSBVI”) and the
        Texas School for the Deaf (“TSD”), directly operated by the State of Texas, receive
        federal funds distributed by TEA.

                                                                                   Exhibit A
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   7. To receive federal funds, a public school, TSBVI, or TSD must provide assurance of
      compliance with applicable federal statutes and rules. If a recipient is found to be in
      non-compliance by the federal entity that awarded the funds, the recipient may be
      subject to enforcement action such as repayment of funds or loss of future funding.
   8. The loss of federal funds would require Texas’s public schools to either eliminate
      certain educational services offered using federal funds or find funding from
      another source.
Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

Executed on this 10th day of May, 2024, in Austin, Texas.




                                             MICHAEL MEYER




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                                                                                   Exhibit A
